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Fu£n BY .,$;:_ D-‘-"-
IN TBE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF.TENNEssE§§ hug 22 AH 10= 32
wEsTERN DIvIsIoN

 

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ACH FooD coMPANIEs, INC. , W@ Q§'-"?-.- h‘->z:?\"*-PH\S

Plaintiff,
v. No. 04-2589 Ml/V

WISCON CORP.,

vvvvvvvvv

Defendant.

 

ORDER FOLLOWING TELEPHONE CONFERENCE
ORDER SETTING TRIAL SCHEDULE

 

A telephone conference was held in this case on August 19,
2005. Plaintiff was represented by Robert Crawford, Esq., Peter
Mims, Esq., and John Edmonds, Esq. Defendant was represented by
JoAnne Denison, Esq. and Lisa Martin, Esq. Pursuant to the
discussion at the conference, the Court hereby sets the following
schedule in this case:

Discovery, other than expert discovery, shall be completed
by Fridav, December 2, 2005.

Initial expert reports shall be disclosed by Friday, January
13c 2006. Rebuttal expert reports shall be disclosed by Monday,
February 13, 2006.

All discovery shall be completed by Tuesdav, March 15, 2006.

Any dispositive motions shall be filed by Tuesdayl March 15l

2006.

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The Court hereby sets the following trial schedule in this
case:
Trial: Mondav, Mav 15, 2006, at 9:00 a.m.
Pretrial Conference: Wednesdav, MaV 3, 2006, at 9:00 a.m.

Pretrial Order: Wednesdav, April 26. 2006. bv 4:30 p.m.

So ORDERED this il day of August, 2005.

w WOM

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

   

' TATES DISTRiCT COURT- WESTERN DISTRICT OF TENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:04-CV-02589 Was distributed by fax, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
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